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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ERIC LOVE,                                  )
                                            )
      Plaintiff,                            )
                                            )
vs.                                         )   Case No.: _________________
                                            )
NATHAN DEAL, in his official                )
capacity as Governor for the State of       )    VERIFIED COMPLAINT
Georgia, FRANK POE, in his official         )
capacity as Executive Director for          )
Georgia World Congress Center               )
Authority, PAUL GUERRICCI, in his           )
official capacity as Director of the        )
Department of Public Safety for             )
Georgia World Congress Center               )
Authority, and ANTONIO JACKSON,             )
individually and in his official capacity   )
as Police Lieutenant for the                )
Department of Public Safety for             )
Georgia World Congress Center               )
Authority,                                  )
                                            )
      Defendants.                           )

      COMES NOW the Plaintiff, Eric Love, and avers the following:

                                 INTRODUCTION

      1.       This is a civil rights action brought under 42 U.S.C. §§ 1983 and

1988, challenging Ga. Code Ann. § 10-9-14(d) and Geo. L. Smith II Georgia

World Congress Center Authority (“Authority”) Regulations and Ordinances, 4.23
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et seq., on their face and as applied to individual, religious expression taking place

on public sidewalks and ways adjacent to facilities under the control and

management of the Authority, including Centennial Olympic Park.

      2.       Plaintiff Eric Love seeks with this action injunctive relief, declaratory

relief, and nominal damages against Defendants Nathan Deal, in his official

capacity as Governor for the State of Georgia, Frank Poe, in his official capacity as

Executive Director for the Authority, Paul Guerricci, in his official capacity as

Director of the Department of Public Safety for the Authority, and Antonio

Jackson, individually and in his official capacity as Lieutenant for the Department

of Public Safety for the Authority.

      3.       This action is based on Plaintiff’s right to free speech and due process

as guaranteed in the First and Fourteenth Amendments to the United States

Constitution.

      4.       Defendants’ actions have deprived and will continue to deprive

Plaintiff of his fundamental rights as guaranteed in the First and Fourteenth

Amendments to the United States Constitution.

      5.       Each and every act of Defendants, as alleged herein, was committed

under the color of state law and authority.




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                            JURISDICTION AND VENUE

       6.       This Court has jurisdiction over the claims for constitutional and civil

rights violations under 28 U.S.C. §§ 1331 and 1343, the request for declaratory

relief under 28 U.S.C. §§ 2201 and 2202, and the request for attorney fees under 42

U.S.C. § 1988.

       7.       Venue is proper in the Northern District of Georgia under 28 U.S.C. §

1391(b), as all of the claims arise in this district and all Defendants reside in this

district.

                                      PLAINTIFF

       8.       Plaintiff Eric Love (“Love”) is a resident of Douglasville, Georgia.

                                    DEFENDANTS

       9.       Defendant Nathan Deal is the Governor for the State of Georgia. In

his official capacity, among other duties, he oversees the enactment, promulgation

and enforcement, of all state laws, including those set out in Chapter 10 of Ga.

Code Ann., the Geo. L Smith II Georgia World Congress Center Act.

       10.      Frank Poe is Executive Director of the Authority. In his official

capacity, among other duties, he oversees all aspects of the Authority, including

oversight of policies that regulate expression and other activities taking place on

property under the control and management of the Authority.

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      11.     Defendant Paul Guerricci is the Director of Public Safety for the

Authority. In his official capacity, he is charged with overseeing the enforcement

of Georgia state laws and Ordinances and the Authority’s Regulations and

Ordinances.

      12.     Defendant Antonio Jackson (“Lt. Jackson”) is a police lieutenant with

the Department of Public Safety for the Authority. Lt. Jackson, like other police

officers in his department, has arrest powers under state law.      In his official

capacity, Lt. Jackson is charged with enforcing state law and the Authority

Regulations and Ordinances.

                            STATEMENT OF FACTS

     Love’s Desire to Speak on Public Sidewalks Close to Popular Events

      13.     Love is a Christian who is inspired and motivated to share his

Christian faith with others in public places.

      14.     Love cares deeply about people, and wants to help them find

fulfillment through God. He is therefore compelled to tell people about Jesus

Christ and His offer of salvation.

      15.     To communicate this message, Love typically preaches, that is, he

orally proclaims his religious beliefs to individuals in close proximity to him. He

also displays signs and hands out literature about his beliefs. When given the


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opportunity, Love also engages willing individuals in cordial conversations about

his faith.

       16.   Love does not yell when he preaches; he only speaks loud enough to

be heard by those near him, like someone delivering a speech in public. His

preaching is effective because he can reach several people at the same time. This

method also leads to follow-up conversations.

       17.   Love also values conversations. They give him the chance to address

particular concerns or questions individuals might have about his beliefs.

       18.   Love occasionally uses signs because they present a condensed

message to many people at once, prompting them to consider the message and

engage Love in a discussion about it.

       19.   He distributes literature so he can impart information about his faith

with people who are on the move and have no time to discuss it. They can take

literature with them and read at their own leisure.

       20.   Regardless of means that he employs, Love always expresses his

views in a peaceful and respectful manner. He realizes that others might disagree

with his viewpoints, but he does not try to offend or insult anyone with his speech;

he wants to engage people in a compassionate way.

       21.   Love does not try to draw large crowds with his speech.

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      22.      He usually shares his views with one or two friends or sometimes by

himself.

      23.      In his effort to reach as many people as possible, Love frequently goes

to public areas. He often uses public sidewalks, spaces that let him convey his

message to people as they walk by or stand in the vicinity.

      24.      When Love speaks on public sidewalks, he does not obstruct

pedestrian traffic. He stands on a part of the sidewalk where others can pass by

him. Love is always willing to step aside and get out of someone’s way.

      25.      Love often goes to public sidewalks in close proximity to popular and

well-attended public events. He frequently travels to Atlanta, Georgia, to speak

outside of such events, especially, events that occur inside Centennial Olympic

Park, due to large numbers of people that he can find there.

      26.      Love particularly wants to share his religious message on portions of

public sidewalks surrounding the perimeter of Centennial Olympic Park that are in

close proximity to the entrances of events occurring inside the park, so he can

reach those entering or leaving the event without obstructing their passage.

     Nature of Centennial Olympic Park and Adjacent Public Sidewalks

      27.      Centennial Olympic Park is a public park located in the heart of

downtown Atlanta, Georgia. The Authority manages and operates the park.

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      28.    The park has been in existence for decades, beginning with the initial

renovations for the 1996 Summer Olympic Games. Following additional and

substantial renovations made over the years, the property today is a full-scale

public park fit for daily public use.

      29.    Centennial Olympic Park contains 21 acres of scenic greenspace. The

park features several concert stages, an amphitheater, a large Centennial plaza with

an iconic Fountain of Rings water feature, several other smaller plazas, pavilions,

and a children’s playground, as well as a Googie Burger restaurant. The park also

contains numerous wide-open grassy areas and scenic walkways that flow through

it.

      30.    Maintaining a capacity of 50,000, the park serves as host to a wide

array of major entertainment and musical events throughout the calendar year.

      31.    The Shaky Beat Music Festival is one such festival, transpiring in the

park on an annual basis, with an extensive lineup of musical artists performing

electronic dance music, hip hop, and indie rock across three different stages in the

park. A variety of vendor booths are posited throughout the park for the event.

      32.    Centennial Olympic Park also acts as annual host for the Sweetwater

420 Festival, a weekend-long festival celebrating music and beer, along with




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environmentalism, bringing live music to two stages, an artist market, charity

events, environmental workshops, numerous food and alcohol vendors, and more.

      33.    When the park is not used for an event, it remains open to the general

public for recreational use. No scheduling, registration, or fees are required for use

of the park for these purposes.

      34.    The park is surrounded by the following city streets: Baker Street,

Centennial Olympic Park Drive, Park Avenue and Marietta Street.

      35.    Public sidewalks are situated between the park and these public streets

on all sides. Measuring at approximately 20 feet wide, the bordering sidewalks act

as thoroughfares for pedestrian traffic who travel to various parts of Atlanta,

remaining open to the public all year-round, including times when events are

happening inside the park.

      36.    These sidewalks connect to, and are indistinguishable from, other city

sidewalks running with city streets in downtown Atlanta.

      37.    The sidewalks adjacent to Centennial Olympic Park do not contain

any signs or markers indicating that access is off-limits or limited in any way.

      38.    At all times, members of the public have unrestricted access to the

sidewalks bordering the park, and use them for various activities, including




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walking, jogging, loitering, and conversing. These sidewalks are well-suited for

expression.

      39.     Centennial Olympic Park has fencing that goes around much of the

perimeter of the park.    This fencing lies in between the park and the public

sidewalks bordering it, representing a clear divider between the park and the

sidewalks. The park fencing contains dozens of gaps that allow for free pedestrian

access to the park.

      40.     When Centennial Olympic Park hosts events that require ticketing or

payment for access, these gaps are closed through temporary fencing, as well as

pre-existing gates, channeling event traffic to entry gates that are constructed for

the purpose and duration of the event.

  Love’s Religious Expression is Censored on Public Sidewalks Adjacent to
                         Centennial Olympic Park
      41.     Sometime during the spring of 2017, Love learned about the Shaky

Beats Music Festival scheduled for Centennial Olympic Park in May of 2017.

Believing the event would be a good draw, and thus, a good opportunity, Love was

determined to go and stand on sidewalks outside the event to share his message.

      42.     On May 6, 2017, Love went to the public sidewalks bordering

Centennial Olympic Park so he could communicate his religious beliefs with



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attendees of the Shaky Beats Music Festival. He was accompanied by a couple of

friends, Jeremiah Barker and Neil Monette.

      43.    Positioning himself on a public sidewalk between Centennial Olympic

Park Drive and the park, Love stood a 20 to 30 feet north of the intersection with

Andrew Young International Boulevard. Because the main entrance to the festival

was located on Andrew Young International Boulevard, Love considered his spot

on the sidewalk idyllic for communicating his religious beliefs to people, catching

them as they entered or left the festival.

      44.    Love did not try to enter the festival or participate in festival

activities. He only wanted to stand on the public sidewalks outside of the event

and convey his message.

      45.    Soon after their arrival, at around 4:00 or 5:00 p.m. that afternoon,

Love held up a sign with a religious message, while Barker orally preached, and

Monette passed out religious literature. The plan was to rotate the different forms

of expression between them.

      46.    The section of sidewalk where Love and his colleagues stood and

spoke is approximately 20 feet wide, leaving ample room for others to walk by

him. They did not impede traffic nor create any congestion on the sidewalk.




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      47.   After sharing his views there for almost one hour, Love and his

friends were approached by police officers with the Authority who declared that

they needed a permit from the Authority to share their views on the public

sidewalk.   When the group inquired about obtaining a permit, the Authority

clarified that no such permit was available to them, instructing Love and his

friends to go across Centennial Olympic Park Drive to continue with their

message.

      48.   Love did not believe the Authority could constitutionally impose a

permit requirement on him to speak on a public sidewalk, but he was willing to

move as long as he could still share his message with people. He did not believe

he could reach many people across the street, but, in an effort to comply, and make

the best out of the situation, he walked over so he could resume with his message.

His companions went with him.

      49.   They walked directly to other side of Centennial Olympic Park Drive,

and stood on sidewalk 20 feet north of Andrew Young International Blvd. After

arriving to this spot, Love began to orally preach, but he quickly deduced that the

new venue was a very poor one for his speech.

      50.   Nearly everyone entering or leaving the festival used the sidewalks on

the park side of Centennial Olympic Park Drive. With four lanes of busy vehicular

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traffic between Love and his intended audience, he was thwarted from getting his

message across. Love and the others tried their best to reach people from where

they were forced to stand, but their efforts were in vain.

      51.    Following forty-five minutes of futility, Love and his two friends

decided to go back to the sidewalks on the park side of Centennial Olympic Park

Drive. This time, they stood on the south side of Andrew Young International

Blvd., about 20 feet away. Love firmly believed he has a constitutional right to

share his beliefs on the sidewalk, and he was optimistic that they could convince

the police officers to acknowledge their rights.

      52.    But sometime around 7:00 or 8:00 p.m. that evening, Lt. Jackson and

two other police officers with the Authority’s Department of Public Safety, Law

Enforcement Division, approached Love and his companions.

      53.    Lt. Jackson abruptly asked them whether they had a permit for

“protesting” on the sidewalks. To which inquiry, Barker, speaking for the group,

explained that they were not protesting, but preaching.

      54.    The lieutenant informed that they needed a permit to engage in their

expression on the public sidewalk, and without one, they would have to go back to

the opposite side of Centennial Olympic Park Drive.




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          55.   Because they were not eligible for a permit, the group was effectively

banned from the sidewalk. Barker objected, asserting the group’s constitutional

right to share their views on a public sidewalk, but Lt. Jackson disagreed. The

officer claimed the sidewalks are “state property” and the group could not speak in

that area without receiving the requisite permit from the Authority.

          56.   Resting on the group’s constitutional rights, Barker refused to stop

speaking on the sidewalk. Lt. Jackson consequently arrested Barker, handcuffing

him and placing him in the back of a police vehicle.

          57.   Love was shocked by the arrest; he feared he would be next. The

Authority police instructed Love and Monette to relocate to the opposite side of

Centennial Olympic Park Drive.         After seeing what happened to Barker, and

fearing arrest, Love complied, as did his colleague.

          58.   Love and Monette walked to the opposite side of the street, staying on

the south side of Andrew Young International Blvd. Love was anxious to see what

would happen to Barker. In the meantime, he tried to preach again, but as before,

his speech was ineffective because his audience could not hear him from across the

street.

          59.   Approximately a half an hour later, the Authority police released

Barker, who then joined Love and Monette on the opposite side of Centennial

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Olympic Park Drive. Barker explained the police gave him a criminal trespass

warning, banning him from the park and bordering sidewalks, for a period of three

years.

         60.   Hearing this news, Love feared he would be arrested and subject to a

trespass ban if he returned to the sidewalks bordering Centennial Olympic Park to

share his religious message. And realizing that he could not reach his audience

from the opposite side of the street, Love soon abandoned his message and left.

  The Authority Explains Basis for Ban on Speech and Confirms Continued
                           Enforcement of Ban
         61.   Love strongly desires to return to the public sidewalks adjacent to

Centennial Olympic Park and share his religious views while large events are

taking place in the park, but he does not want to risk criminal arrest.

         62.   Barker was likewise dissatisfied with the situation. Hoping to resolve

the conflict without litigation, Barker secured legal counsel, who sent a letter on

his behalf on August 9, 2017 to Frank Poe, Paul Guerricci, and J. Pargen

Robertson, legal counsel for the Authority. The letter recounted the events that

happened on May 6, 2017 and explained how the ban on expression on public

sidewalks violates constitutional rights.

         63.   This letter sought relief from these Authority officials that would

allow Barker specifically, and by extension, Love and Monette, to speak again on

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the sidewalks. The letter requested written assurance that individual and small

group religious expression be allowed on the sidewalks bordering the park in the

future, among other forms of relief.

      64.    On September 1, 2017, the Authority responded to the letter, but the

response did not offer relief.

      65.    In the response, the Authority emphasized its statutorily-given control

over activity and expression occurring on sidewalks and streets next to the park, as

well as the park itself, citing Official Code of Georgia Annotated (OCGA) § 10-9-

14, stating the Authority can:

      adopt reasonable rules and regulations governing the use during an
      event period of sidewalks and public streets immediately adjacent
      to any project of or under the control and management of the authority
      so as to ensure the safe and orderly operation of the project and such
      areas, to prevent disruption of and interference with the conduct
      of such event, and to prevent public solicitation or public distribution
      of literature which is competitive with the activities of the person to
      whom the authority has granted the right to conduct such event.

(Emphasis in response letter).

      66.    The referenced law, OCGA § 10-9-14, purportedly gives the

Authority power over bordering sidewalks and public streets and to take any

affirmative steps deemed warranted to prevent “disruption” or “interference” in

those venues while an event is occurring inside the park. The law specifically



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empowers the Authority to ban solicitation and literature distribution transpiring on

sidewalks or streets bordering the park.

      67.     As the Authority explains in the response letter, OCGA § 10-9-14 also

enables the Authority to promulgate rules and regulations that facilitate the goals

of the law.

      68.     The Authority cites Regulations and Ordinances § 4.23.1 as such

regulation proscribing the expression Barker, Love, and Monette were engaged in,

defining a “Public Assembly” as follows:

      The term “Public Assembly” means any public assembly, meeting,
      gathering, demonstration, parade, picketing, march, or other similar
      concerted activity where the intent of the activity is to publicly
      communicate views in such a manner or with such volume as to
      carry the communication to the general public in the vicinity of
      the activity.

(Emphasis in response letter).

      69.     In the response letter, the Authority also clarifies that a permit is not

available to persons like Barker and Love because public expression is strictly

prohibited on the adjoining sidewalks during events that transpire inside the park,

quoting its Regulations and Ordinances, § 4.23.14.4 as justification:

      A Public Assembly may not be conducted within the area of the
      facilities designated for a Scheduled Event (including another
      permitted Public Assembly) during the time within which the
      Scheduled Event is being conducted…


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(Emphasis in response letter).

      70.    Referring back to § 10-9-14, the Authority further explains that this

prohibition bans the public sharing of religious views on the public sidewalks

outside the park.

      71.    Love was subsequently apprised of the response letter and its

contents.   Like Barker, he is perpetually prohibited from communicating his

religious views on sidewalks bordering Centennial Olympic Park while events are

taking place in the park.

      72.    The Authority confirmed that it would continue to ban the public

communication of religious views on public sidewalks on the perimeter of

Centennial Olympic Park while events occur inside the park, subjecting Love to

criminal arrest for religious speech on those sidewalks.

      73.    The next event at which Love would like to speak on a sidewalk

adjoining Centennial Olympic Park is the Sweetwater 420 Festival, an event

scheduled for April of 2018. He eagerly desires to return to the public sidewalks

on the perimeter of Centennial Olympic Park and share his Christian message

while that event is happening, but as long as the ban on his speech exists, the threat

of criminal arrest prevents him from exercising this constitutional right.




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      74.    The impact of prohibiting Love from engaging in constitutionally-

protected expression in traditional public fora constitutes irreparable harm to him.

      75.    There is no adequate remedy at law for the ongoing deprivation of

Love’s constitutional rights.

                          FIRST CAUSE OF ACTION

                         Violation of Free Speech Clause

      76.    Love’s religious expression constitutes protected speech under the

First Amendment.

      77.    The Authority’s policies and practices, and enforcement thereof:

             a.    are vague and overbroad;

             b.    prohibit the free speech of Love and other third-party citizens;

             c.    allow for the exercise of unbridled discretion;

             d.    lack narrow tailoring, fail to achieve any legitimate government

                   purpose, and fail to leave open ample alternative avenues for

                   expression; and

             e.    amount to a patently unreasonable ban on protected speech in

                   traditional public fora.

      78.    Defendants have no compelling or legitimate reason that can justify

their broad restriction on Love’s expression.

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        79.    Defendants’ policies and practices, and the enforcement thereof, thus

violate the Free Speech Clause of the First Amendment to the United States

Constitution, made applicable to the States through the Fourteenth Amendment.

        WHEREFORE, Love respectfully prays the Court grant the equitable and

legal relief set forth in the prayer for relief.

                            SECOND CAUSE OF ACTION

                            Violation of Due Process Clause

        80.    Defendants’ policies and practices are vague and lack adequate

objective standards needed to curtail the broad discretion of Authority officials.

This affords Defendants opportunity to enforce the policies in an ad hoc, arbitrary,

and discriminatory manner.

        81.    Defendants have no compelling or legitimate reason justifying their

vague policies.

        82.    Defendants’ policies and practices, and their application to Love,

therefore violate the Due Process Clause of the Fourteenth Amendment to the

United States Constitution.

        WHEREFORE, Love respectfully prays the Court grant the equitable and

legal relief set forth hereinafter in the prayer for relief.




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                             PRAYER FOR RELIEF

      WHEREFORE, Love respectfully prays for relief in that this Court:

      A.     Assume jurisdiction over this action;

      B.     Enter a judgment and decree declaring that the Authority’s policy

banning disfavored expression on public sidewalks that lie between the outer

perimeter of Centennial Olympic Park and city streets, is unconstitutional on its

face and as applied to Love’s desired expression because it violates his

fundamental rights as well as the rights of third parties not before the Court, as

guaranteed under the First and Fourteenth Amendments to the United States

Constitution;

      C.     Enter a preliminary and permanent injunction enjoining defendants,

their agents, officials, servants, employees, and all persons in active concert or

participation with them, or any of them, from applying the Authority’s policy

banning the constitutionally-protected speech of Love and others on public

sidewalks adjacent to public streets on the perimeter of Centennial Olympic Park;

      D.     Adjudge, decree, and declare the rights and other legal relations with

the subject matter here in controversy, in order that such declaration shall have the

force and effect of final judgment;

      E.     That this Court award Love nominal damages as an important

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vindication of his constitutional rights;

        F.   That this Court award Love his costs and expenses of this action,

including reasonable attorneys’ fees, in accordance with 42 U.S.C. § 1988 and

other applicable law; and

        G.   Grant such further relief as appears to this Court to be equitable and

just.

                                 Respectfully submitted,

   s/ Nathan W. Kellum                            S/ TERRY L. LLOYD
   Nathan W. Kellum*                              TERRY L. LLOYD
   TN Bar #13482; MS Bar # 8813                   GA Bar # 455349
   Center For Religious Expression                TERRY L. LLOYD, P. C.
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   nkellum@crelaw.org                             terrylloyd@bellsouth.net
   Attorney for Plaintiff Eric Love               Attorney for Plaintiff Eric Love
   *Motion for Admission pro hac vice filed
   concurrently

                          CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2017, the foregoing was filed
electronically with the Clerk of the Court using the CM/ECF system, and that a
copy of the foregoing will be delivered to a process server for service on
defendants.

                                        s/ TERRY L. LLOYD
                                           Attorney for Plaintiff



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                       ITERTETCATTpN           Or   powrArNT
      I, Eric Love, a citizw of the United      States and a resident of Dougldsville,

Georgi4 hereby declare that I have read the foregoing Verified Complaint snd the

factual allegations thereiq and the facts as alleged therein are tue and correct.




                                         ,,n
